     Case 3:06-cv-00891-B Document 146 Filed 11/01/07               Page 1 of 2 PageID 1376



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SOUTHWEST AIRLINES CO.,                           §
                                                  §
         Plaintiff,                               §
                                                  §
v.                                                §   CIVIL ACTION NO. 3: 06-CV-0891-B
                                                  §
BOARDFIRST, L.L.C.,                               §
                                                  §
         Defendants.                              §


                                  AGREED ORDER OF DISMISSAL

         After considering the parties Stipulation of Dismissal, the Court Orders the following:

         1.      Plaintiff Southwest Airlines Co.’s claims for violation of the Computer Fraud and

Abuse Act (18 U.S.C. § 1030), unfair competition and trademark in violation of the Lanham Act,

violation of the Texas Harmful Access by Computer Act (TEX . REV . CIV . PRAC. ANN . § 143.001),

trespass, and unjust enrichment, are dismissed with prejudice.

         2.      Defendant BoardFirst, L.L.C.’s claims for tortious interference with contract are

dismissed with prejudice.

         SO ORDERED.

         Signed November 1, 2007



                                              _________________________________
                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE




                                                -1-
  Case 3:06-cv-00891-B Document 146 Filed 11/01/07    Page 2 of 2 PageID 1377



AGREED AS TO FORM AND SUBSTANCE :



s/ Jonathan C. LaMendola
Jonathan C. LaMendola
Attorney for Plaintiff Southwest Airlines Co.


s/ with permission James O. Bell
James O. Bell
Attorney for Defendant BoardFirst, L.L.C.




                                                -2-
